           Case 1:19-cv-00656-LJO-BAM Document 24 Filed 06/19/19 Page 1 of 4
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                                   UNITED STATES DISTRICT COURT
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                             FOR THE EASTERN DISTRICT OF CALIFORNIA
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8    ALI MOSLEH, ET AL.                                      1:19-cv-00656-LJO-BAM
9                              Plaintiffs,                   INTERIM MEMORANDUM DECISION
                                                             AND ORDER RE PLAINTIFFS’
10                      v.                                   REQUEST FOR PRELIMINARY
                                                             INJUNCTION (ECF No. 3)
11   MICHAEL R. POMPEO, ET AL.,
12                             Defendants.
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16          The Court is in receipt of Plaintiffs’ Motion for Preliminary Injunction (ECF No. 3), Defendants’

17 Opposition (ECF No. 16), Plaintiffs’ Reply (ECF No. 20), and Plaintiffs’ Motion for Leave to File

18 Supplemental Evidence (ECF No. 23). The Court requires more information from Defendants in order

19 to rule on Plaintiffs’ motion and thus issues an interim order as follows.

20          First, Defendants raise the threshold issue of whether venue is proper. Because at least one

21 Plaintiff resides in the Eastern District of California, venue is proper before this Court. See 28 U.S.C.

22 § 1391(e)(1); Sidney Coal Co. v. Soc. Sec. Admin., 427 F.3d 336, 344–45 (6th Cir. 2005) (“Each court

23 faced with the same issue has interpreted ‘the plaintiff’ to mean ‘any plaintiff,’ finding that Congress

24 intended to broaden the number of districts in which suits could be brought against government

25 entities.”); Californians for Renewable Energy v. United States Envtl. Prot. Agency, No. C 15-3292

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           Case 1:19-cv-00656-LJO-BAM Document 24 Filed 06/19/19 Page 2 of 4
1    SBA, 2018 WL 1586211, at *5-6 (N.D. Cal. Mar. 30, 2018) (ruling only one Plaintiff must reside within

2    the forum district for venue purposes, and collecting cases holding the same) (internal citations omitted);

3    see also ECF No. 16 at 10 (Defendants agree at least two Plaintiffs reside in the Eastern District).

4           Second, Plaintiffs are correct that the Court must consider and weigh the factors announced in

5    Telecommunications Research & Action Center(“TRAC”) v. FCC, 750 F.2d 70 (D.C. Cir. 1984), in

6    deciding whether Defendants’ conduct constitutes an unreasonable delay under § 706(1). These factors

7    include:

8                   (1) the time agencies take to make decisions must be governed by a “rule
                    of reason”;
9                   (2) where Congress has provided a timetable or other indication of the
                    speed with which it expects the agency to proceed in the enabling statute,
10                  that statutory scheme may supply content for this rule of reason;
                    (3) delays that might be reasonable in the sphere of economic regulation
11                  are less tolerable when human health and welfare are at stake;
                    (4) the court should consider the effect of expediting delayed action on
12                  agency activities of a higher or competing priority;
                    (5) the court should also take into account the nature and extent of the
13                  interests prejudiced by delay; and
                    (6) the court need not find any impropriety lurking behind agency
14                  lassitude in order to hold that agency action is ‘unreasonably delayed.

15 TRAC, 750 F. 2d at 79-80 (internal citations and quotation marks omitted). Defendants’ Opposition,

16 including the bare bones Declaration of Chloe Dybdah, see ECF No. 16-1, does not provide sufficient

17 information or evidence for this Court to weigh Defendants’ interests and in particular the “effect of

18 expediting delayed action on agency activities of a higher or competing priority.” Defendants do not

19 provide sufficient detail regarding the national security/public safety step of the assessment process in

20 general, and its boilerplate explanation for the status of each Plaintiff’s security assessment is

21 inadequate. See, e.g., ECF No. 16-1 at 2 (stating for each Plaintiff that the consular officer is “is in

22 consultation with the Visa Office regarding whether her entry could pose a threat to national security or

23 public safety. It is not possible to predict how long it will take to complete the security assessments or to

24 further adjudicate the waiver request.”).

25          The Court cannot issue a decision without more information and evidence from Defendants

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           Case 1:19-cv-00656-LJO-BAM Document 24 Filed 06/19/19 Page 3 of 4
1    justifying the delays caused by the security assessments, both in terms of the general program and for

2    each specific Plaintiff. Therefore, for the reasons stated above, the Court ORDERS as follows:

3               1. Plaintiffs’ request for leave to file supplemental evidence (ECF No. 23) is GRANTED.

4                   The Court will consider the supplemental evidence as appropriate.

5               2. Defendants are ORDERED to submit the following supplemental information and/or

6                   evidence within fourteen (14) days:

7                      a. Demonstrating that the delays in the security assessment process are reasonable in

8                          general;

9                      b. Demonstrating for each Plaintiff what security assessment steps have already been

10                         taken, what steps remain, and an estimate of how long it the assessment process

11                         will take or an explanation of why such an estimate would be impossible;

12                     c. Demonstrating why the security checks Plaintiffs have already undergone

13                         “several times over” do not meet the standards of the waiver program, see ECF

14                         No. 3-2 at 23;

15                     d. Demonstrating what the “expedited review” process means for Plaintiff Saleh, see

16                         ECF No. 16-1 at 4.

17              3. If Defendants claim the supplemental information is sensitive, the Court will entertain a

18                  request to file the documents under seal, subject to a protective order, or by way of any

19                  alternative submission mechanism deemed necessary upon a showing of good cause;

20              4. If Defendants need more time to obtain information regarding the status of individual

21                  Plaintiff’s security assessments, they may produce the general programmatic information

22                  on or before the fourteen-day deadline, make a timely request demonstrating good cause

23                  for an extension, and then submit the remaining information on a rolling basis in

24                  accordance with any extension granted.

25              5. If Defendants fail to provide the ordered supplementation, the Court will make its

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          Case 1:19-cv-00656-LJO-BAM Document 24 Filed 06/19/19 Page 4 of 4
1               decision based on the absence of information from Defendants and any reasonable

2               inferences drawn therefrom.

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4    IT IS SO ORDERED.

5      Dated:   June 19, 2019                          /s/ Lawrence J. O’Neill _____
                                              UNITED STATES CHIEF DISTRICT JUDGE
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